                Case 22-11068-JTD              Doc 22620          Filed 08/09/24         Page 1 of 3
                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

 In re:                                                          Chapter 11

 FTX TRADING LTD., et al.,1                                      Case No. 22-11068 (JTD)

 Debtors.                                                        (Jointly Administered)

                                                                 Ref. Docket Nos. 22161 & 22162



                                        CERTIFICATE OF SERVICE
I, ARNOLD NGUYEN, hereby certify that:
1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, with their
   principal office located at 777 Third Avenue, New York, New York 10017. I am over the age
   of eighteen years and am not a party to the above-captioned action.

2. On August 2, 2024, I caused to be served the:

    a. “Nineteenth Monthly Fee Statement of Paul Hastings LLP, as Lead Counsel for the
       Official Committee of Unsecured Creditors, for Allowance of Compensation and
       Reimbursement of Expenses for the Period From June 1, 2024 Through June 30, 2024,”
       dated August 2, 2024 [Docket No. 22161], and

    b. “Nineteenth Monthly Fee Application of Young Conaway Stargatt & Taylor, LLP, as Co-
       Counsel for the Official Committee of Unsecured Creditors, for Allowance of
       Compensation and Reimbursement of Expenses for the Period From June 1, 2024
       Through June 30, 2024,” dated August 2, 2024 [Docket No. 22162],

    by causing true and correct copies to be delivered via electronic mail to those parties listed on
    the annexed Exhibit A.


                                                                                       s/ Arnold Nguyen
                                                                                       Arnold Nguyen




1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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                    EXHIBIT A
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           FTX TRADING LTD., et al., Case No. 22-11068 (JTD)
               Electronic Mail Fee Notice Parties Service List
Name                                     Email Address
Sullivan & Cromwell LLP                  kranzleya@sullcrom.com
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